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                                                                                        Apr 6, 2021
                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLORIDA
                21-20212-CR-MARTINEZ/BECERRA
                          CA SE N O .
                                              18U.S.C.j1349
                                              18U.S.C.j1344
                                              18U.S.C.j1028A(a)(1)
                                              26U.S.C.j7206(1)
                                              26U.S.C.j7203
                                              18U.S.C.j982(a)(2)(A)

  UNITED STATES OF AM ERICA

  VS.

  M IC H A EL JO SEPH W IH LBO R G and
  M A TTH EW C O R EY M ATLO CK ,


                D efendants.
                                        /

                                            INDICTM ENT
         The Grand Jury chargesthat:

                                 G EN ER AL A LLE GA TIO N S

         Ata11timesrelevantto thisIndictm ent:

         1.     SabadellUnited Barlk,N.A.(çûsabadell'')wasa tsnancialinstitution with oftices
  located in the State ofFlorida whose accountswere insured by the FederalDepositCom oration

  CtFDIC''). On July 31,2017,Sabadellwasacquired by lberiaBank,atinancialinstitution based
  in Lafayette,Louisiana,whoseaccountswereinsured by theFDIC. Checkswritten on Sabadell

  accountsw ereprocessed electronically through the FederalR eserve Bank in A tlanta.

         2.     W ellsFargo Bank (1tW ellsFargo'')wasatinancialinstitutionwith officeslocated
  throughouttheUnited States,including in the State ofFlorida,whose accountswere insured by

  the FD IC .
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                Branch Banking and TrustCompany (iûBB&T'')wasa financialinstitution with
  offices located throughoutthe United States,including in the State ofFlorida,whose accounts

  wereinslzred by theFDIC.
                Law Firm 1 was a professional association of attorneys which specialized in

  personalinjury cases. Law Firm 1had ofticeslocatedthroughouttheStateofFloridaincluding
  anofficein HallandaleBeach,Florida.W hen Law Firm 1agreed to representaclientin apersonal

  injury matter,Law Firm 1 negotiated with medicalsenice providersto treatthe clientsfora
  specific price,and to delay dem and for paymentfor the m edicalservicesprovided untilafter

  resolution ofthe client'scase. Ifaclient'scasewassetlled forcash rem uneration,thesettlem ent

  paymentswould beused to pay the medicalservicesprovidersforthe client'smedicalbills,pay

  Law Firm 1'sfee,and pay thebalancetotheclient.

         5.      DefendantM ICH AEL JOSEPH W IHLBORG was em ployed by Law Finn 1

  from in or around 1997 untilon or aboutA ugust 1,2017.D uring this tim e,W IH LBO R G held

  variouspositionsatLaw Firm 1includingbookkeeper,oftk em anager,and settlementmanager.

         6.      DefendantM ATTH EW COREY M ATLO CK was a residentof the Southern

  DistrictofFlorida,a managerofPremierOrtho Group,LLC ClpremierOrtho'')and registered

  agentanddirectorofAdvancedInjuryM gt.
                 N .C.wasafamily mem berofM ATTHEW CO REY M ATLOCK .

         8.      Broward OutpatientM edical Center LLC and Broward OutpatientUrgent Care

  LLC were Florida lim ited liability companies,each with itsprincipalplace ofbusiness listed as

  150 SW 12th A venue in Pom pano Beach,Florida. Both lim ited liability com panies provided

  m edicalservicesto the clientsofLaw Firm 1.

         9.      Broward OutpatientSX & M ed Center,LLC (ûçBroward OutpatientSX'')wasa
  Florida lim ited liability com pany registered w ith the Florida D ivision ofCorporations on July 25,

                                                   2
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 2017. ltsprincipalplaceofbusinesswaslistedas10525GreenbriarCourtin BocaRaton,Florida.

 N .C.waslisted astheregistered agentand m anagerof Broward OutpatientSX.

         10.    On oraboutAugust1,2017,abusinessaccountwasopened inthenameofBroward

  OutpatientSX & M ed CenteratW ellsFargo,with an accotmtnum berending in 6830. The sole

  signatory ontheaccountwaslisted asN.C.

         11.    On or aboutAugust 1,2017,a business account was opened by M ATTH EW

  COREY M ATLOCK in thenam eofBroward OutpatientSX & M ed CenteratBB&T bank,with

  an accotmtending in 5259. Thesignatoriesontheaccountwere listed asN .C.andM ATLOCK .

         12.     South Florida Pain & Rehabilitation,P.A .wasa Floridaprofessionalassociation

  with its principalplace ofbusinesslisted as 6001 Broken Sound Parkway N W in B oca Raton,

  Florida. Theprofessionalassociation provided medicalservicesto clientsofLaw Firm 1.

                S.FL PainandRehab,LLC (ttS.FL Pain'')wasaFloridalimitedliability company
  registered with the Florida Division ofCom orationson October3,2016. Itsprincipalplace of

  business was listed as 1281 NW 106th Tenuce in Plantation,Florida. N .C.was listed as the

  registered agentand m anagerof S.FL Pain.

         14.    On oraboutOctober6,2016,businessaccountswere opened in the name ofS.FL

  Pain atW ellsFargo with bank accountnumbersending in 8223and 8231. Thesole signatory on

  the accotm twaslisted asN .C .

                 Advanced Orthopedics & Pain M anagement,P.L.was a Florida professional

  lim ited liability com pany with itsprincipalplace ofbusinesslisted as3355 BurnsRoad in Palm

  Beach Gardens.The professionallim ited liability corporation provided m edicalservices to the

  clientsofLaw Firm 1.

                 Advanced OrthopedicsPerfonuanceCenter,LLC (ûçAdvancedOrthopedics'')was
  a Florida lim ited liability com pany registered with the Florida D ivision of Corporations on M ay

                                                  3
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  4,2017. Itsprincipalplace of business was listed as 1281 NW 106th Terrace in Plantation,

  Florida. N.C.waslisted astheregistered agentand m anagerofAdvanced Orthopedics.

         17.    On or about M ay 10, 2017, a business account was opened in the nnm e of

  tûAdvanced OrthopedicsPerform ance Cen''atW ellsFargo,with abank accountnum berending in

  6314. The sole signatory on the accountw as listed asN .C .

         18.    On oraboutM ay 9,20l7,businessaccountswereopenedinthennm eofAdvanced

  OrthopedicsatBB& T bank,foraccountsending in 5708 and 5716. The sole signatory on the

  accountsw aslisted asN .C .

         19.    Prem ierOrthopedics,LLC,Prem ierO rthopedics 11LLC,and Prem ier Orthopedics

  Group Ill LLC,w ere affiliated Florida lim ited liability com panies,w ith their principalplace of

  business listed attw o addresses located in Palm Beach County,in Florida. The lim ited liability

  companiesprovided medicalservicesto the clientsofLaw Firm 1.

                Premier Ortho Group,LLC (ûtpremier Ortho'')was a Florida limited liability
  com pany registered w ith the Florida D ivision ofCorporationson February 8,2012. ltsprincipal

  place of business was listed as9080 NW 12th Streetin Plantation, Florida,with M ATTH EW

  C O R EY M A TLO CK listed as the m anagerofthe lim ited liability com pany.

                On or about February 16, 2012, business bank accounts were opened by

  M A TTH EW CO REY M ATL O CK in the nam e of Prem ier Ortho at W ells Fargo,w ith accolm t

  num bersending in 5408 and 9418. The sole signatory on the accounts wasM ATL O C K .

         22. Advanced lnjury M gt.was a Florida corporation registered with the Florida
  D ivision ofCorporations on A ugust24,2004. Itsprincipalplace ofbusiness was listed as 6512

  N W 55th Streetin CoralSprings, Florida. M A TTH EW CO REY M A TLO CK w as listed as the

  registeredagentand directorofAdvancedlnjuryM gt.


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                                       COUNT 1
                          CON SPIM CY TO COM M IT BANK FRAUD
                                         (18U.S.C.j1349)
                The GeneralAllegations section ofthisIndictmentisze-alleged and incom orated

  byreferenceasthough fully setforth herein.

                Beginning atleastasearly asin oraround Augustof2004,and continuing through

  onoraboutAugust2017,in BrowardandPalm Beach Counties,intheSouthern DistrictofFlorida,

  and elsewhere,the defendants,

                            M ICH AEL JO SEPH W IH LB O R G and
                              M A TTH EW C O R EY M A TLO C K ,

  didwillfully,thatis,withtheintenttofurthertheobjectoftheconspiracy,andknowinglycombine,
  conspire,confederate,and agree with each other,and with personsknom zand unknown to the

  Grand Jury,to comm itan offense againstthe United States,thatis,to knowingly execute,and

  cause the execution of, a schem e and artifice to defraud one or more financial institutions,

  including Sabadell,whichschem eand artificewouldemploy amaterialfalsehood,andknowingly,

  and with intentto defraud,execute,and cause the execution of,a scheme and artifice to obtain

  m oney and funds owned by, and under the custody and control of, one or m ore fnancial

  institutions,by meansoffalse and fraudulentpretenses,representations,and promises,relating to

  amaterialfact,inviolationofTitle18,UnitedStatesCode,Sections134441)and(2).
                              PUR PO SE O F TH E CO N SPIM CY

                Itwasthe purposeofthe conspiracy forM ICHAEL JOSEPH W IHLBORG and

  M AT TH EW C O R EY M A TL O CK ,and their co-conspirators to unlaw fully em ich them selves

  and others by falsely and fraudulently representing thatcom panies established by them were the

  authorized recipientsoffundsfrom Law Firm 1to acceptpaymentofmedicalexpenses forLaw

  Finn 1's clients,depositing the checks issued by Law Firm 1 into bank accotm tsthey controlled;
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 and thereafterwithdrawing amountsfrom theaccountto pay themselves,theirpersonalexpenses,

 andthepersonalexpensesofothers.

                          M ANNER AND M EANS OF THE CONSPIRACY

         Themnnnerandmeansbywhichthedefendantsandotherssoughttoaccomplishtheobject
  and purposeofthe conspiracy,included,among otherthings,the following:

              M ICHAEL JOSEPH W IH LBORG,asan employee ofLaw Finn 1,had accessto

  the identity and contactinformation foreach ofLaw Finn 1'sm edicalserviceprovidersandknew

  the am ounts owed to them for services provided to Law Finn 1's clients. After the client's

  personalinjurycaseswereresolved,W IHLBORG'SresponsibilityatLaw Firm 1wastocalculate
  the amountowed to the medicalservice provider,and issue paym ents to the various medical

  servicesproviderswho had treated Law Firm l'sclients.

              Using infonnation from Law Firm 1,the co-conspirators created limited liability

  com panies w ith nnm es sim ilar to the nam es of Law Firm 1's m edical service providers and

  registered theseltimposter''companieswith theFloridaDivision ofCom orations. Theim poster

  companies included the following:Broward Outpatient SX & M ed Center,LLC,S.FL Pain,

  Advanced Orthopedics Performance Center,LLC,and Premier Ortho,and each listed either

  M AT H EW C O R EY M ATL O C K orN .C .asthe m anager forthe com pany.

         6. M A TTH EW C O R EY M A TLO CK opened m ultiplebarlk accountsin the nam e ofthe

  impostercompaniesatW ellsFargo and BB&T,listinghim selforN .C.asthesignatorieson those

  accounts.

              A s paym ent for m edical services,M ICH A EL JO SEPH W IH LBO RG issued and

  caused Law Firm 1to issue checksin the nnm eofthe variousmedicalservice providerstreating

  Law Firm 1's clients. The co-conspirators then diverted these checks,depositing the stolen

  checks into the accounts of the im poster com panies instead of delivering them to the proper

                                               6
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 m edicalserviceprovider. Law Firm 1'sbankhonoredthecheckspresented andpaid outthefunds

  from Law Firm 1'saccounttotheimpostercompanies'bank accounts,believing thattheimposter

  companiescashing thechecksweretheintended recipientsofthesepaym ents.

         8.     Atvarioustim esdtlring the conspiracy,M ICH AEL JOSEPH W IH LBORG also

  falselyandfraudulentlycausedLaw Firm 1toissuechecksforpaymenttoAdvancedlnjuryM gt.
  these checks purportedly represented paym ents for m edicaltreatm ents provided to Law Firm l's

  clients. However, as W IH LBORG and M ATTHEW CO REY M ATLO CK well knew,

  Advanced lnjury M gt.had notprovided medicalcare to Law Firm 1's clients,and the stolen
  paym entsw ere ow ed to otherm edicalservicesproviders.

         9.     From on oraboutA ugust31,2004,through on oraboutA ugust 17,2017,using the

  bankaccountsofAdvancedlnjuryM gt.,PremierOrthoandS.F1aPain,amongothers,M ICHAEL
  JOSEPH W IHLBO RG and M ATTHEW COREY M ATLO CK falsely and fraudulently

  deposited,and causedto bedeposited,approxim ately $6,500,000in stolen Law Firm lchecksinto

  bnnk accounts which they controlled by m isrepresenting thatthe com panies receiving the funds

  were the intended recipientsofthe funds.

         10.    M ICH A EL JO SEPH W IH LBO R G r d M A TTH EW C O R EY M A TLO CK

  withdrew theillicitfundsobtained through thisschem e,and caused these fundsto bewithdrawn,

  from accountscontrolled by the defendantsatW ellsFargo and BB& T. These funds were then

  dispersedtotheco-conspirators,usedto makepaymentstoothers,and used to pay the defendants'

  and others'personalexpenses.

         In violation ofTitle 18,U nited States Code,Section 1349.

                                         CO UN TS 2-11
                                         BA N K FR AUD
                                        (18U.S.C.j1344)
                The General A llegations section of this lndictment is re-alleged and fully

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 incom oratedherein by reference.
        2.      Beginning atleastasearly asin oraround Augustof2004,and continuing through

  in or arotmd August2017,in Broward and Palm Beach Cotmties,in the Southem Districtof

  Florida,and elsewhere,the defendants,

                            M ICH A EL JO SEPH W IH LBO R G and
                              M ATTH EW C O R EY M A TLO CK ,

  did knowingly,and w ith intent to defraud,execute,and cause the execution of,a schem e and

  artifice to defraud one or more financialinstitutions,which scheme and artitlce employed a

  materialfalsehood,anddidknowingly,andwith intenttodefraud,execute,andcausetheexecution

  of,aschem eand artificeto obtain moneysand fundsownedby,and underthe custody and control

  of, one or m ore said financial institutions by m eans of false and fraudulent pretenses,

  representations,and prom ises,relating to a m aterialfact,in violation ofTitle 18,United States

  Code,Sections1344(1)and(2).
                        PU RPO SE O F TH E SCH E M E A ND AR TIFIC E

                Itw as the purpose ofthe conspiracy forM IC H A EL JO SEPH W IH LB O RG and

  M ATTHEW CO REY M ATLO CK ,and theirco-conspiratorsto unlawfully emich them selves

  and othersby falsely and fraudulently representing thatcompaniesestablished by them werethe

  authorized recipientsoffundsfrom Law Firm 1to acceptpaymentofmedicalexpensesforLaw

  Firm 1'sclients,depositing thechecksissued by Law Firm 1into bank accountsthey controlled;

  and thereaherwithdrawing am ountsfrom the accountto pay them selves,theirpersonalexpenses,

  and the personalexpenses ofothers.

                    M A N NE R A N D M EAN S O F TH E SCH EM E A ND A RTIFIC E

         4.     The M nnner and M eans section of Count 1 of this lndictm ent is re-alleged and

  incorporated fully herein by reference asadescription oftheschem eand artifice.


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                     EXECUTION OF TH E SCHEM E AND ARTIFICE

              On oraboutthe dates specifed below,M ICHAEL JO SPEH W IHLBORG and

 M ATTH EW CORY M ATLO CK did execute,and causethe execution of,the above-described

  schemeand artifice to defraud,asspecified below:



       2      10/10/2012 Check # 74829 in the am ountof$16,038.34,drawn on an accotmt
                           m aintainedatSabadell,deposited into the W ellsFargo accotmtending
                           in 5408belongingto PremierOrtho Group LLC
       3      11/29/2012 Check # 75334 in theam ountof$10,000,drawn on an account
                           m aintained atSabadell,deposited into theW ellsFargo accountending
                           in 5408 belonging to Prem ierOrtho Group LLC
       4      12/07/2012 Check # 75442 in theam ountof$10,000,drawn on an account
                           m aintained atSabadell,deposited intotheW ellsFargo accotmtending
                           in 5408 belonging to Prem ierOrtho Group LLC
       5      12/28/2016 Check # 95311in theam ountof$10,000,drawn on an account
                           maintained atSabadell,deposited intotheW ellsFargo accountending
                           in 8223 belon in to S.FL Pain and Rehab,LLC
       6      01/19/2017 Check # 95680 in theam ountof$10,000,drawn on an account
                           maintained atSabadell,deposited intothe W ellsFargo accotmtending
                           in 8223 belon in to S.FlPain and Rehab,LLC
       7      07/27/2017 Check #96426 intheamountof$7,500,drawn on an account
                           maintained atSabadell,deposited into theBB& T accountending in
                           5259 belon in to Broward Out atientSX & M ed CenterLLC
       8      07/28/2017 Check #97361inthenmotmtof$10,000,drawn on an account
                           maintained atSabadell,deposited into the BB&T accountending in
                           5259 belon in to Brow ard O ut atientSX & M ed Center LLC
       9      05/12/2017 Check #97553intheamountof$20,000,drawn on an account
                           maintained atSabadell,deposited into the BB&T accountending in
                           5708 belonging to Advanced OrthopedicsPerform ance CenterLLC
       10     05/12/2017 Check #97555in theamountof$15,000,drawn on an account
                           maintained atSabadell,deposited into the W ellsFargo accolm tending
                           in 6314 belonging to ûtA dvanced OrthopedicsPerform ance Cen''
       11     07/02/2017 Check #98697 in theamountof$15,000,drawn on an account
                           m aintained atSabadell,deposited into the W ells Fargo accountending
                           in 6314 belon in to ûkA dvanced Ortho edicsPerform ance Cen''

         InviolationofTitle18,UnitedStatesCode,Sections1344(1)and(2),and2.


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                                        COUNT 12
                           CONSPIR ACY TO COM M IT W IItE FRAUD
                                          (18U.S.C.b1349)
           The G eneralA llegations section of this lndictm entare re-alleged and incorporated by

  reference asthough fully setforth herein.

     2.    Begirmingatleastasearlyasin oraroundAugustof2004and continuingthroughAugust

  of2017,in Broward and Palm Beach Counties,in the Southern DistrictofFlorida,and elsewhere,

  the defendants,

                            M ICH AEL JO SE PH W IH LBO RG and
                              M AT TH EW C O R EY M ATLO CK ,

  did knowingly and willfully,thatis,with the intentto further the objectofthe conspiracy,
  combine,conspire,confederate,and agreewith each otherandotherpersonsknown and unknown

  to the Grand July,to knowingly,and with the intentto defraud,devise,and intend to devise,a

  schemeand artitk eto defraud,andtoobtain money andproperty bym eansofmaterially falseand

  fraudulentpretenses,representations,and prom ises,knowing thatthe pretenses,representations,

  and promiseswerefalseand fraudulentwhen m ade,and forthepum ose ofexecuting the schem e

  andartifice,did knowingly transm itandcausetobetransmitted,by meansofwirecom munication

  in interstate com merce,certain writings,signs,signals,picturesand sounds,in violation ofTitle

  18,United StatesCode,Section 1343.

                              PUR PO SE O F TH E CO N SPIM CY

                Itw asthe purpose ofthe conspiracy forthe defendants and othersto unlawfully

  enrich them selves by obtaining m oney from the law firm ,by generating fraudulentchecksthat

  appeared to bepaymentsto am edicalservicesproviderforclienttreatment,when the defendants

  knew thatthe providerindicated on the check had notprovided the services.




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                      M ANNER AND M EANS OF THE CONSPIM CY

                The M nnner and M eans section ofCount 1 ofthis lndictm entis re-alleged and

  incorporated f'ully herein by reference asadescription oftheconspiracy.

         A11in violation ofTitle 18,United StatesCode,Section 1349.

                                          C O U N T 13
                                             -     -

                             A G G R AVA TED ID EN TITY TH E FT
                                      (18U.S.C.j1028A(a)(1))
                The General Allegations section of this Indictm ent is re-alleged and fully

  incom orated herein by reference.
                On or about October 6,2016,in Broward County,in the Southern District of

  Florida,and elsewhere,thedefendant,

                               M ATTHEW COREY M ATLOCK ,

  during and in relation to a felony violation ofTitle 18,United StatesCode,Section 1349,thatis,

  conspiracy to comm itbank fraud ascharged in Count1ofthisIndictm ent,didknowingly possess

  and use,withoutlawfulauthority,themeansofidentifcation ofanotherperson,thatis,the social

  securitynllmberofN.C.,inGolationofTitle18,UnitedStatesCode,Sections1028A(a)(1)and2.
                                           C O U NT 14
                              A G G R W A TED ID ENT ITY TH EFT
                                      (18U.S.C.j1028A(a)(1))
                The General Allegations section of this Indictm ent is re-alleged and fully

  incop orated herein by reference.

         2.     On oraboutM ay 16,2017,in Broward County,intheSouthern DistrictofFlorida,

  and elsewhere,the defendant,

                               M ATTH EW C O REY M A TLO CK ,

  dtlring and in relation to a felony violation ofTitle 18,United StatesCode,Section 1349,thatis,

  conspiracyto com mitbank fraud ascharged in Count1ofthisIndictment,did knowinglypossess
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  and use,withoutlawf'ulauthority,them eansofidentification ofanotherperson,thatis,theforged

  signature ofN .C.on a BB& T Bfmk signature card,in violation ofTitle 18,United StatesCode,

  Sections1028A(a)(1)and2.
                                                                                                                    C O UN TS 15-17
                                                                                                     M AK ING AND SUBSCRIBING A FALSE RETURN
                                                                                                                                                                                            (26U.S.C.j7206(1))
                                     On or aboutthe dates setforth below,in Broward County,in the Southern Districtof

  Florida,and elsewhere,thedefendant,

                                                                                                                                                    M ICH AEL JO SEPH W IH LBO RG ,

  a residentofBroward County,did willfully m ake and subscribe a U nited StatesIndividuallncom e

  Tax Return,InternalRevenue Service Form 1040,forthe calendaryearidentitied in each count

  below,whichwasverifiedbyawrittendeclarationthatitwasmadeunderthepenaltiesofperjury,
  and filed with the InternalRevenue Service,which tax return thedefendantdid notbelieveto be

  trueand correctastoevery materialmatter,inthatthetax return falsely underreportedtheam ount

  oftotalincom e as setforth below ,by failing to reportas incom e m oney received by defendant

  tllrough an embezzlem ent schem e, whereas, as the defendantthen and there wellknew and

  believed,thetotalincom ewassubstantially greaterthan the stated amount:
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                                      Inviolation ofTitle26,UnitedStatesCode,Section720641).

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Case 1:21-cr-20212-JEM Document 1 Entered on FLSD Docket 04/07/2021 Page 13 of 18



                                           CO UN T 18
                                       FA ILUR E TO FIL E
                                         (26U.S.C.j7203)
         During the calendaryear2017,thedefendant,

                               M IC H A EL JO SEPH W IH LBO R G ,

  who wasaresidentofLauderdale Lakes,Florida,in Broward County,in the Southern Districtof

  Florida,had and received grossincom eofatleast$126,550,
                                                        .thatby reason ofsuch grossincom e,
  he wasrequired by law,following theclose ofthe calendaryear2017,and on orbeforeApril17,

  2018,to m ake an incom e tax return to the lnternalR evenue Service Center,at Charlotte,N orth

  Carolina,orto anotherInternalRevenueServiceofficeperm itted by theComm issionerofInternal

  Revenue Service,stating specifically the item sofhisgrossincom eand any deductionsand credits

  towhichhewasentitled;thatwellknowingandbelievinga1loftheforegoing,hedid willfully fail,

  on orbeforeA pril17,2018,in the Southern D istrictofFlorida,and elsew here,to m ake an incom e

  tax return,in violation ofTitle26,United StatesCode,Section 7203.

                                    CO U N TS 19-22
                      M AKING AND SUBSCRIBING A FALSE RETURN
                                       (26U.S.C.j7206(1))
         On or about the dates set forth below , in Brow ard Cotm ty,in the Southern District of

  Florida,and elsew here,the defendant,

                               M ATTH EW C O R EY M A TLO CK ,

  aresidentofBroward County,did willfully makeand subscribeaUnited StateslndividualIncome

  Tax Return,InternalRevenue Service Form 1040,forthe calendaryearidentitied in each cotmt

  below,whichwasverifedbyawrittendeclarationthatitwasmadeunderthepenaltiesofperjury,
  and filed with the lnternalRevenue Service,which tax return the defendantdid notbelieveto be

  true and correctasto every m aterialm atter,in thatthe tax return falsely underreported the nm ount

  of totalincom e as set forth below ,by failing to reportas incom e m oney received by defendant

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Case 1:21-cr-20212-JEM Document 1 Entered on FLSD Docket 04/07/2021 Page 14 of 18



  tlarough an em bezzlem ent schem e, whereas, as the defendant then and there w ell knew and

  believed,thetotalincom ewassubstantially greaterthan the stated amount:
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                                 19                                                                pril14,2015                                                                                                    2014                                                          Line                                   22, total $509,669
                                                                                                                                                                                                                                                                                reported incom e of
                                                                                                                                                                                                                                                                                $126,525
                                20                                                                 pril17,2016                                                                                                    2015                                                          Line 22, total $483,692
                                                                                                                                                                                                                                                                                reported incom e of
                                                                                                                                                                                                                                                                                $ 152 294
                                21                                                                arch 21,2017                                                                                                    2016                                                          Line 22, total $255,137
                                                                                                                                                                                                                                                                                incom e reported of
                                                                                                                                                                                                                                                                                $29,220
                                22                                                                 pril18,2018                                                                                                    2017                                                          Line 22, reported $123,714
                                                                                                                                                                                                                                                                                negat1
                                                                                                                                                                                                                                                                                     'Ve l
                                                                                                                                                                                                                                                                                         *ncom e Of
                                                                                                                                                                                                                                                                                 $4,540

                                      InviolationofTitle26,UnitedStatesCode,Section7206(1).
                                                                                                                                                         FO RFE ITU R E A LLEG A TIO N S

                                                                          TheallegationsofthisIndictmentare hereby re-alleged and by thisreferencefully

  incop oratedherein forthepurposeofallegingforfeituretotheUnitedStatesofAmericaofcertain

  property in w hich any of the defendants,M A TTH EW CO R EY M A TL O C K and M IC H A EL

  JO SEPH W IH LB O R G ,have an interest.

                                                                          U pon conviction of a violation,or conspiracy to com m it a violation,of Title 18,

  United StatesCode,Section 1344,asalleged in thisIndictment,thedefendantshallforfeitto the

  United Statesany property constituting,orderived from ,proceedsobtained directly orindirectly,

   astheresultofsuchviolation,pursuanttoTitle18,UnitedStatesCode,Section982(a)(2)(A).
                                                                           Thepropertysubjecttoforfeitureasaresultoftheallegedoffensesincludes,butis
   notlim itedto,asum ofmoney equalin valuetothetotalam otmtoffundsderivedfrom thealleged

   offensesandmay besoughtasaforfeituremoneyjudgment.
Case 1:21-cr-20212-JEM Document 1 Entered on FLSD Docket 04/07/2021 Page 15 of 18



         4.     lfanyofthepropertysubjecttoforfeiture,asaresultofanyactoromissionofthe
  defendant:

                a. cnnnotbelocated upon theexerciseofdue diligence'
                                                                  ,

                b. hasbeen transferred orsold to,ordeposited with,athird person'
                                                                               ,

                c. hasbeenplacedbeyondthejurisdictionoftheCourt;
                d. hasbeen substantially dim inished in value;or

                    hasbeen comm ingled with otherproperty which carmotbe subdivided without

                    difficulty,

  the United States shallbe entitled to forfeiture ofsubstitute property underthe provisionsofTitle

  21,UnitedStatesCode,Section853(p).
         AllptlrsuanttoTitle18,UnitedStatesCode,Sections982(a)(2)(A),andtheproceduresset
  forth in Title21,UnitedStatesCode,Section 853,asincom oratedby Title 18,UnitedStatesCode,

  Section 982(b)andTitle28,United StatesCode,Section2461(c).

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  JU A ON GONZALEZ
  A W G UNIT D STATES ATTORNEY


       THIA R.W O O D
  A SSISTAN T UN ITED STA TES A TTORN EY




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Case 1:21-cr-20212-JEM Document 1 Entered on FLSD Docket 04/07/2021 Page 16 of 18
                                           UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA

                                                      CERTIFICATE O F TRIA L ATTO RNEY*
M ichaelJoseph W irlborg,etal.
                                                      Superseding Case Inform ation:
                            Defendants.     /

CourtDivijiop:(SelectOne)                             New defendantts)           Yes        No
 ?'    M laml          Key W est                      Num berofnew defendants
       FTL             W PB           FTP             Totalnumberofcounts

                lhavecarefully considered the allegationsofthe indictment,the numberofdefendants,the numberof
                probable witnessesandthelegalcomplexitiesofthe lndictment/lnformation attachedhereto.
       2.       Iam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                Courtin setting their calendars and scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                Act,Title28 U.S.C.Section 316l.
                lnterpreter:      (YesorNo)     No
                Listlanguageand/ordialect
       4.       Thiscasewilltake 10 daysforthepartiestotry.
        5.      Please check appropriatecategory andtypeofoffense listedbelow:


        I       0 to 5 days                                  Petty
        11      6 to 10 days                                 M inor
        lll     11to 20 days                                 M isdem.
        IV      2lto 60 days                                 Felony
        V       6ldaysand over
        6.      HasthiscasepreviouslybeenfiledinthisDistrictCourt?           (YesorNo)      N0
         lfyes:Judge                                  CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeentiledinthismatter?          (YesorNo)       X0
         lfyes:M agistrateCaseNo.
         Relatedm iscellaneousnumbers:
         Defendantts)'
                     infederalcustodyasof
         Defendantts)in statecustodyasof
         Rule20 from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)             No
                Doesthiscase originatefrom am atterpending inthe CentralRegion oftheU.S.Attorney'sOftice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?               Yes             No /
       8.       Doesthiscaseoriginate from am atterpending in theNorthern Region ofthe U.S.Attorney'sOffice
                priortoAugust8,2014(M ag.JudgeShaniekM aynard)?             Yes             No z
                Doesthiscaseoriginate from a matterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                priortoOctober3,2019(M ag.JudgeJaredStrauss)?                Yes            No z
                Doesthiscaseoriginate from a matterpending in theSouthern Region oftheU.S.Attorney'
                                                                                                  sOffice
                priortoNovember23,2020(JudgeAileenM.Cannon ?                    Yes d       No

                                                                yn ia .w ood
                                                              A SSISTANT UNITED STATESATTORNEY
 lpenaltySheetts)attached                                     CourtID A5501329
 Case 1:21-cr-20212-JEM Document 1 Entered on FLSD Docket 04/07/2021 Page 17 of 18
                                UNITED STATES DISTRICT COURT
                                SO U TH ER N DISTR IC T O F FLO R IDA

                                          PEN A LTY SH EET

Defendant'sNam e:M ICHAEL JOSEPH W IHLBORG                               C ase N o:

Count:1

Conspiracy to Com mitBartk Fraud



*M ax.Penalty:Thirty (30)years'imprisonment'
                                           ,five(5)years'supervisedrelease;$1,000,000fine.
Counts:2 - 11

Bank Fraud

18U.S.C.#1344
*M ax.Penalty:Thirty (30)years'imprisonment;five(5)years'supervisedrelease;$1,000,000 tine.
Count:12

Conspiracv to Com m itW ire Fraud

 18U.S.C.k 1349

*M ax.Penalty:Twenty(20)years'imprisonment;three(3)years'supervisedrelease;$250,000
Counts:15 - 17

M aking and subscribing a False Return

26U.S.C.$ 720641)

*M ax.Penalty:Three(3)years'imprisonment;one(1)years'supervisedrelease;$250,000tine.
Count:18

W illfulFailure to File

26 U.S.C.47203

*M ax.PenaI+ :O ne (1)years'imprisonment'
       -   -   --   - - .   -           ,one(1)year'ssupervisedrelease;$25,000fine.
*Refers nnly tc pnssible term nf incarceratinn, ioes n0t include possible fines. restitutinn, special
assessments, parnle terms nr forfeitures that may be applicable.
 Case 1:21-cr-20212-JEM Document 1 Entered on FLSD Docket 04/07/2021 Page 18 of 18
                               U NITED STATE S D ISTR ICT C O U RT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PEN A LTY SHEET

D efendant's N am e:M ATTH EW COREY M A TLOCK                       C ase N o:

Cotmt:1

Conspiracv to Com m itBank Fraud

18 U.S.C.i 1349

*M ax.Penalty:Thirty (30)years'imprisonment'
                                           ,five(5)years'supervisedrelease;$1,000,000tine.
Counts:2 - 11

Bank Fraud

18 U.S.C.i 1344

*M ax.Penalty:Thirty(30)years'imprisonment;tive(5)years'supervisedrelease;$1,000,000tine.
Count:12

Conspiracy to Comm itW ireFraud

 18 U.S.C.i 1349

*M ax.Penalty:Twenty (20)years'imprisonment;three(3)years'supervisedrelease;$250,000
Cotm ts:13 - 14

Aggravated ldentity Theft

18 U.S.C.i 1028A(a)(1)

*M ax.Penalty:Two(2)years'imprisonmentconsecutive;one(1)yearsupervisedrelease'
                                                                             ,$250,000fine.
Counts:19 -22

M akinz and Subscribina a False Return



*M ax.Penalty:Three(3)years'imprisonment'
                                        ,one(1)years'supervisedrelease'
                                                                      ,$250,000fine.
    *Refers only tc pcssible term ef incarceration, dees n:t include pessible fines, restitutien. speoial
    assessments, parele terms nr fnrfeitures that may be applicable.
